Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 1 of 52   1




     1                       UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
     2                              MIAMI DIVISION
                              CASE NO. 12-20496-CR-JEM
     3

     4

     5     UNITED STATES OF AMERICA,

     6                       Plaintiff,

     7           vs.

     8                                              Miami, Florida
                                                    April 11, 2013
     9     THOMAS PATRICK KEELAN,

    10                    Defendant.
           _______________________________________________________________
    11                     TRANSCRIPT OF SENTENCING HEARING
                        BEFORE THE HONORABLE JOSE E. MARTINEZ
    12                       UNITED STATES DISTRICT JUDGE

    13
           APPEARANCES:
    14
           FOR THE PLAINTIFF:
    15                             United States Attorney's Office
                                   BY: ROY ALTMAN,
                                            ALTMAN, A.U.S.A.
    16                             BY: VANESSA JOHANNES, A.U.
                                                         A.U.S.
                                                           U.S.A.
                                                             S.A.
                                   99 N.E. 4th Street
    17                             Miami, Florida 33132

    18
           FOR THE DEFENDANT:
    19                             BY: SAMUEL RANDALL, A.F.
                                                        A.F.P.
                                                           F.P.D.
                                                             P.D.
                                   BY: ABIGAIL BECKER, A.F.
                                                        A.F.P.
                                                           F.P.D.
                                                             P.D.
    20                             150 West Flagler Street
                                   Suite 1700
    21                             Miami, Florida 33130

    22     REPORTED BY:           DAWN M. WHITMARSH, RPR
                                  Official Court Reporter
    23                            400 N. Miami Avenue, 10S03
                                  Miami, Florida 33128
    24                            Telephone: 305-523-5598

    25




                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 2 of 52   2




     1                               P-R-O-C-E-E-D-I-N-G-S

     2                COURTROOM DEPUTY:     Case number

     3     12-20496-criminal-Martinez, United States of America versus

     4     Thomas Patrick Keelan.

     5                Counsel, please state your appearance.

     6                MR. ALTMAN:     Good afternoon, Your Honor.     Roy Altman,

     7     Vanessa Johannes and Special Agent Alexis Carpenteri on behalf

     8     of the United States.

     9                THE COURT:     Good afternoon.

    10                MR. RANDALL:     Good afternoon, Your Honor.     Samuel

    11     Randall and Abigail Becker on behalf of Thomas Keelan who is

    12     present.

    13                THE COURT:     Good afternoon.

    14                All right.     We're here on the sentencing on Mr. Keelan.

    15     I have reviewed the verdict form, the presentence investigation.

    16     Note that the defendant has requested that any term of

    17     incarceration be served at FCI McKean or in the alternative, at

    18     FCI Otisville.     I'll be happy to make that recommendation.

    19                I've also reviewed the addendum to the PSI, the second

    20     addendum, the defendant's objections, the Government's response,

    21     the Government's sentencing memorandum, letters on behalf of --

    22     an initial letter on behalf of the defendant then additional

    23     letters filed a couple of days ago, then I think one filed this

    24     morning, and the defendant's omnibus response to the

    25     Government's sentencing pleadings.



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 3 of 52   3




     1                 I think I'm ready to proceed at this time unless you're

     2     prepared to file more stuff now, but I'm ready to proceed at

     3     this time, so let me hear first from the Government.

     4                 I've got your memo that says you want the maximum, the

     5     upper end of the guideline range.        I'm not really inclined to do

     6     that Mr. Altman, but I'm willing to listen to you as to why.

     7                 MR. ALTMAN:     Your Honor, did you want me to address the

     8     objections to the PSI first?

     9                 THE COURT:     Well, why don't you wait until they make

    10     them then we can do that.       I just wanted to hear your -- well

    11     I'll tell you what, maybe it would be better to start this way.

    12     Mr. Randall, if you will tell me if there are any objections

    13     that you have filed that have not been responded to to your

    14     satisfaction either by the Government or by the probation

    15     office, so tell me what is still outstanding.

    16                 But first let me get an appearance from Probation.

    17                 THE PROBATION OFFICER:     Good afternoon, Your Honor.

    18     Shannon Culberson on behalf of Probation Department.

    19                 THE COURT:     Good afternoon, Ms. Culberson.    All right.

    20     Go ahead.

    21                 MR. RANDALL:     With respect to the factual objections, I

    22     think Your Honor can rule on those, Your Honor heard the trial.

    23                 THE COURT:     Tell me what they are so I can rule on

    24     them.

    25                 MR. RANDALL:     Mr. Keelan denied sending flirtatious and



                     PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                             TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 4 of 52    4




     1     sexually charged text messages to J.S., that's the first

     2     objection.

     3                THE COURT:     Okay.   Are you objecting to the

     4     characterization of them as flirtatious and sexually charged or

     5     to the fact that it happened?

     6                MR. RANDALL:     We agree there were text messages between

     7     them, but we deny they were sexually charged and flirtatious.

     8                THE COURT:     All right.   Mr. Altman?

     9                MR. ALTMAN:     Well, Your Honor, as the testimony of J.S.

    10     clearly demonstrated, the text messages did contain sexual

    11     innuendo for some time.       Ultimately as J.S. testified at trial,

    12     they became more overtly sexual over time and they did include

    13     flirtation and they were sexually charged.           So we would ask the

    14     court overrule that first objection.

    15                THE COURT:     All right.   I will overrule that objection.

    16     I think they can be fairly characterized and flirtatious and

    17     sexually charged.

    18                Go ahead.

    19                MR. RANDALL:     The second is that Mr. Keelan denies that

    20     he asked -- that he ever asked J.S. to have sex.           That he was

    21     the one that initiated that conversation, and I think the

    22     evidence at trial demonstrated that Mr. Keelan had to --

    23     attempted to persuade J.S. that the sexual relationship was a

    24     bad idea and that it was J.S. who persuaded Mr. Keelan into

    25     having a sexual relationship when it came to the two actually



                     PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                             TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 5 of 52    5




     1     having sex.

     2                 THE COURT:    You know, I'm not sure who started it and

     3     who ended it, but I think that the jury heard this and I think

     4     that they're the ones that pretty much made a decision that it

     5     was that.     But let me hear from Mr. Altman.

     6                 MR. ALTMAN:    Your Honor, I would say first of all that

     7     J.S. specifically testified both on direct and on redirect that

     8     Mr. Keelan had sent him a text message asking him, point blank,

     9     do you want to have sex, after many text messages that were

    10     initially innuendo then increasingly more flirtatious over time.

    11                 In addition to that, obviously J.S. testified that on

    12     cross-examination that Mr. Keelan and J.S. did have some sort of

    13     playful back and forth where Mr. Keelan told him that it was

    14     more than just sex, and J.S. said that he wanted the sex but

    15     J.S. at all times was clear that that first text message about

    16     sex came from Mr. Keelan.

    17                 In any event Your Honor, I think that the evidence as

    18     it came out at trial indicated that irrespective of what

    19     happened that very first time, the reality is as J.S. testified

    20     over the course of the relationship, which lasted about a year,

    21     Mr. Keelan and J.S. had sex many, many times.         Sometimes

    22     multiple times a week for many, many, months in a row.            And so

    23     as J.S. testified, sometimes it would have been, during the

    24     course of that relationship, J.S. who initiated and asked for

    25     the sex with Mr. Keelan during the relationship and sometimes it



                     PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                             TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 6 of 52    6




     1     would have been Mr. Keelan who asked for and initiated the sex

     2     with J.S.

     3                 And the fact of the matter is that I think under those

     4     circumstances, the PSI correctly outlines the facts.

     5                 THE COURT:     I'll overrule your objection.    I remember

     6     it pretty clearly.        Go ahead.

     7                 MR. RANDALL:     Number three, that Mr. Keelan denies that

     8     he ever instructed J.S. not to disclose their sexual

     9     relationship.

    10                 MR. ALTMAN:     And again, the testimony was clear as to

    11     this fact.    J.S. repeatedly testified that Mr. Keelan talked to

    12     him quite a bit about the consequences of him disclosing the

    13     nature of their relationship, about how that would result in his

    14     incarceration and how ultimately that would result in a great

    15     shame, embarrassment and guilt on J.S.'s head.         And in fact,

    16     many of the e-mails that were put into evidence during the

    17     course of the trial really corroborated that testimony.           If the

    18     court will remember, many of those e-mails and some of the

    19     recorded phone calls, all -- many of them Mr. Keelan repeatedly

    20     sent to J.S., you know, if you had told people about this I

    21     would have gone to jail.        And this would have -- the shame and

    22     the guilt would have killed you.        You know you shouldn't do

    23     that, that kind of thing.

    24                 And so I don't know if the word instructed is what

    25     Mr. Randall is talking about, but certainly as Dr. Patterson



                     PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                             TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 7 of 52   7




     1     testified during her expert testimony at trial, that kind of

     2     guilt trip that Mr. Keelan repeatedly administered on J.S.'s

     3     consciousness over the course of several years and during the

     4     course of the investigation is a very common form of

     5     manipulation that's used in the final phase of the grooming

     6     process.     So we would ask that the court overrule that

     7     objection.

     8                 THE COURT:     I will overrule that objection.

     9                 Go ahead, Mr. Randall.

    10                 MR. RANDALL:     I think number four has been resolved.       I

    11     think the Government agreed that paragraph 13 should be

    12     supplemented to indicate that 2010 was the last time Mr. Keelan

    13     ever saw J.S. in person and that in December 2010, J.S. broke

    14     off their sexual relationship.

    15                 MR. ALTMAN:     And Your Honor, I agree that is factually

    16     accurate.     What I noted in my response was only that if the

    17     court were to have probation change that aspect or add that into

    18     the PSI.

    19                 I would also ask that the following sentences be added

    20     and I'll quote, "after J.S. told the defendant that he wanted to

    21     end their sexual defendant, the defendant, without consulting

    22     with J.S., twice drove down from Virginia to South Florida in

    23     the hopes of finding and meeting J.S.         On both trips, the

    24     defendant drove around J.S.'s block in search of J.S., and on

    25     one occasion he called J.S.'s home but hung up when J.S.'s



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 8 of 52   8




     1     mother answered the call", end quote.          And that is directly from

     2     a recorded conversation, several recorded conversations

     3     Mr. Keelan had with J.S. during the course of our law

     4     enforcement investigation.

     5                 THE COURT:     What does that add to the PSI?    How does

     6     that help or hurt the cause of trying to come up with a fair

     7     sentence?    I don't see how that really -- you know, all you

     8     really know is that that's what he said.          You don't really know

     9     that he drove down from anywhere.

    10                 MR. ALTMAN:     I agree, Judge.    I think the PSI is fine

    11     as is.    My only point is if the court was going to add to the

    12     PSI the fact that the relationship ended in 2010, that I would

    13     want the PSI to be clear for the record that despite the fact

    14     that it ended, Mr. Keelan continued to pursue J.S. against

    15     J.S.'s wishes.

    16                 THE COURT:     No, I will add the -- you'll add the

    17     initial thing that it ended in 2010.          I won't add the other

    18     stuff because I don't see that helps at all.          All right.   Go

    19     ahead.

    20                 MR. RANDALL:     Number five, I think the Government is in

    21     agreement with this as well, that --

    22                 THE COURT:     Well, they weren't in an awful lot of

    23     agreement with the last one, but see if you can do better this

    24     time.

    25                 MR. RANDALL:     That he never showed child pornography to



                     PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                             TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 9 of 52   9




     1     J.S.

     2                THE COURT:     That's correct.

     3                MR. ALTMAN:     That's correct, Your Honor.

     4                THE COURT:     That will be fixed in the PSI.

     5                MR. RANDALL:     The last two I also believe the

     6     Government is in agreement with the second page of the PSI says

     7     he was convicted of coercion.       Obviously that was not submitted

     8     to the jury.

     9                THE COURT:     Right.   That was not an issue of the jury,

    10     so how do we want to fix that?

    11                MR. RANDALL:     There are four elements of the statute,

    12     three of which were submitted to the jury.         So we can say

    13     enticement, inducement.

    14                THE COURT:     Can we fix that?

    15                THE PROBATION OFFICER:      Yes, Your Honor.    That will be

    16     fixed.

    17                THE COURT:     That will be fixed.    What else?

    18                MR. RANDALL:     Lastly we object to the condition that he

    19     not possess adult pornography when he's released from prison.

    20                THE COURT:     I'm not going to go along with that.      I

    21     don't see any justification for doing that when you have a

    22     situation.     I don't know what makes Mr. Keelan click or work or

    23     do, whatever it is he's going to do, I don't know.          But if the

    24     possibility exists that viewing adult pornography might trigger

    25     something, you know, I mean I don't think people have a



                     PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                             TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 10 of 52 10




     1      God-given right to view any kind of pornography if they have

     2      been convicted of a crime of this nature.        So I don't think it's

     3      an unreasonable restriction on him during his supervised

     4      release.    So I'll deny your motion on that.

     5                 MR. RANDALL:     Okay.

     6                 THE COURT:     I'm not an expert.   I assume they have

     7      experts that deal with that sort of thing, and if they don't

     8      think that he should have it, that's fine with me.

     9                 MR. RANDALL:     Okay.   I'll rest on the pleadings with

    10      respect to two of the three PSI objections.        The one that I

    11      really think needs to be addressed still because the Government

    12      still opposes it is the use of the computer.        There was no use

    13      of a computer in this offense.       There were e-mails between them

    14      after the sex ended that the Government did not want to

    15      introduce into evidence.      The e-mails were completely innocuous.

    16      So I don't think there's any basis to say that there was a

    17      computer used in furtherance of this offense at any point.

    18                 THE COURT:     But there were e-mails that facilitated the

    19      transaction.    I mean, there were e-mails that talked about, by

    20      my recollection, about meeting, in and of themselves the e-mails

    21      were not indecent or improper, but I don't think they have to be

    22      in order for them to be used.

    23                 Mr. Altman, let me hear from you.

    24                 MR. ALTMAN:     That's correct, Your Honor.    I think what

    25      Mr. Randall is referring to, and just to clarify the record,



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 11 of 52 11




     1      Mr. Randall is referring to the e-mails that were introduced at

     2      trial which are e-mails --

     3                THE COURT:    By them.

     4                MR. ALTMAN:    Actually it was by me, but they were

     5      introduced at trial and those were e-mails that were exchanged

     6      between Mr. Keelan and J.S. after their relationship had ended.

     7      In other words, during the course of the investigation.          But

     8      J.S. again, and this is the point, the same point the court has

     9      already ruled on with respect to the text messages.         Yes, we

    10      don't have the e-mails from 2009 and 2010 when J.S. and

    11      Mr. Keelan initiated their relationship.        The reality is though

    12      that J.S. testified under oath at the trial and he specifically

    13      testified, as the court has just recalled, that Mr. Keelan and

    14      he exchanged many e-mails over the course of their relationship,

    15      e-mails that caused him to fall in love with the defendant.

    16      E-mails about meeting places.      E-mails about their relationship.

    17      E-mails about their friendship.      And all of this, of course, led

    18      our doctor, Dr. Patterson, to conclude that all of this was part

    19      and parcel of the grooming process, making J.S. feel

    20      comfortable, making him to feel in love with this defendant and

    21      it's very common in fact.      So yes, although I don't think there

    22      was any testimony that any of the e-mails were overtly

    23      salacious, the reality is they didn't need to be.         They were

    24      part and parcel of the grooming process and for that reason,

    25      they were part of the influence that the defendant exerted on



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 12 of 52 12




     1      J.S.

     2                THE COURT:     See, I was inclined to look at this one

     3      much more deeply than the others because I can understand your

     4      argument, but do see how you can get away from the fact that he

     5      actually did use a computer?       Although the contents may not have

     6      been overtly sexual and salacious, I think that clearly they

     7      were part and parcel of the entire thing, so I will deny your

     8      motion on that.

     9                MR. RANDALL:     Okay.

    10                THE COURT:     Or overrule your objection, I always get

    11      mixed up as to which.     Whichever it is I did.

    12                MR. RANDALL:     I'd rest on the pleadings as well with

    13      respect to my argument that the statutory penalties are

    14      unconstitutional.

    15                THE COURT:     All right.   I will overrule you on that.

    16      Just bring it up so I can rule though.       Because if there are any

    17      that you have not gotten, I guess I could just say anything that

    18      you don't bring up I'm overruling you on or denying.         Either

    19      way.

    20                MR. RANDALL:     And we also object, I'll just raise it

    21      here, that the use of the 2G1.3 enhancement as opposed to the

    22      statutory rape guideline under 283.2.

    23                THE COURT:     Yeah, I'll overrule your objection on that.

    24      All right?

    25                Ready to go then?



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 13 of 52 13




     1                MR. RANDALL:     Yes.

     2                THE COURT:     All right.   Let me hear from Mr. Altman as

     3      to what you believe is a proper sentence, although I have read

     4      your response.

     5                MR. ALTMAN:     Your Honor, and I don't want to belabor

     6      the point because I know the court has read my papers.

     7                My point in the papers was that, as I think we've all

     8      agreed now -- well, we may not have agreed, but I think the

     9      court has found that the guideline range is 188 to 235 months.

    10      With a mandatory minimum --

    11                THE COURT:     I think that what we agree on is that based

    12      upon my rulings the applicable guideline range is 188 to 235; is

    13      that correct, Mr. Randall?

    14                MR. RANDALL:     Yes, Judge.

    15                THE COURT:     Okay.

    16                MR. ALTMAN:     Right.   And with a mandatory minimum of

    17      ten years for each of the two counts.       And I'm not asking that

    18      the mandatory minimums be stacked or run consecutively which

    19      would result in a sentence of 240 months, what I'm asking for is

    20      the high end of the guideline range which is 235 months.

    21                And the reason why I think that's a reasonable, fair

    22      and sufficient sentence, Your Honor, is because first of all,

    23      looking at the factors under 3553 and starting with the nature

    24      and circumstances of this offense, I think in a word, this

    25      offense was serious.     In fact, I think it was very serious.       I



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 14 of 52 14




     1      think that what you see typically in cases that are brought

     2      under this statute is you typically see a situation where a

     3      person is in another state and he is communicating via chat or

     4      e-mail with an undercover agent who talks to the person

     5      pretending to be a child.      The person travels down to Miami in

     6      order to have sex with what he believes to be a child and is

     7      arrested at a bus stop or a motel or a restaurant by the law

     8      enforcement agencies who have been running this sting operation.

     9      Under those circumstances, you have someone who has never

    10      engaged in predatory sex, at least that can be proven with an

    11      underage victim, someone who the defense attorneys often say it

    12      was just playing out a fantasy, role playing over the internet

    13      and wasn't intending to do any real harm.        That sentencing range

    14      that we have now, 188 to 235, applies equally to that person as

    15      it does to Mr. Keelan's case.

    16                Mr. Keelan's case, I think, can be distinguished in

    17      many, many important respects.      First of all, of course

    18      Mr. Keelan didn't just attempt to have sex with someone, he

    19      actually had sex with J.S. who was his 15-year-old student at

    20      the time that was in his care, custody and control. J.S. was

    21      somebody who trusted him, who believed in him, who looked up to

    22      him, who respected him and Mr. Keelan abused that respect, that

    23      admiration to placate his own sexual desires, his own sexual

    24      satisfaction.    And he did it not just one time, but repeatedly

    25      multiple times a week, week after week for over a whole year.



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 15 of 52 15




     1                And the reality is, Judge, that for the vast majority

     2      of the time, Mr. Keelan was having J.S. leave school or leave

     3      tennis practice or leave his friends and having sex with him at

     4      parks and in rather seedy motel rooms in Hollywood, Florida

     5      while his family thought that he was in school or in tennis

     6      practice and with a friend.

     7                Really, in my opinion, predatory conduct, Your Honor,

     8      that lasted many, many months.      It was all premeditated, it was

     9      all intentional and it was done all of Mr. Keelan's free will as

    10      I said to placate his own sexual satisfaction.

    11                Secondly I would say, Your Honor, that the relationship

    12      progressed in the severity of the sexual conduct over time.

    13      It's not like -- I don't mean to minimize a one-time sexual

    14      incident, but it's not like Mr. Keelan and J.S. had sex one time

    15      and it was normal sex and that was the end of it.         Mr. Keelan

    16      ultimately ended up introducing sadomasochistic sex into the

    17      relationship.    As J.S. testified both on direct and redirect

    18      examination, Mr. Keelan introduced a whole host of sexual

    19      objects; straps and ties and ropes, he slapped J.S., he whipped

    20      J.S.    He penetrated J.S. with a whole host of different

    21      objects, vibrators and such and he would hit J.S. during sex.

    22      In other words, it's a much more severe course of sexual conduct

    23      than anything that we typically see in these cases.

    24                More importantly, Judge, after J.S. broke off the

    25      relationship with the defendant, the defendant was still so



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 16 of 52 16




     1      obsessed and infatuated with J.S. that the defendant actually

     2      against J.S.'s wishes traveled down to Miami on two separate

     3      occasions to meet with J.S.      He circled around J.S.'s block, he

     4      called J.S.'s home.     He was prowling for J.S. in a very real

     5      way.   While J.S., unbeknownst to him, was away at reform school

     6      because of frankly how much damage the defendant's conduct had

     7      on J.S.'s future conduct, which we'll get to in a moment.

     8      Obviously J.S. wasn't here, the defendant never had an

     9      opportunity to meet with J.S.

    10                But in deciding who was the initiator, who was the

    11      aggressor, who was responsible for all of this, I think those

    12      two trips each, 14 hour drives one way and then 14 hours back

    13      from Virginia, I think are emblematic of the intentions.          As

    14      J.S. testified in a moment of some levity during the trial after

    15      Mr. Randall asked whether or not Mr. Keelan was coming down just

    16      to say hello, J.S. made clear that Mr. Keelan and J.S. never

    17      hung out just to say hello.      That every single time that

    18      Mr. Keelan picked J.S. up and took J.S. to one of those hotel

    19      rooms or to that secluded island of his in Oleta, each and every

    20      time he was having sex with J.S., he was tying J.S., whipping

    21      J.S. and sometimes slapping J.S. during sex.        I think that's

    22      also emblematic of the defendant's intentions.

    23                More importantly, Judge, I think later on, when J.S.

    24      starts cooperating with law enforcement and law enforcement and

    25      J.S. together contact the defendant after years of J.S. being --



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 17 of 52 17




     1      a year, a year and a half I think of J.S. being away, the

     2      defendant doesn't resist the opportunity, he doesn't say well,

     3      it was just a mistake, I made a mistake, it was an accident, I

     4      want to move on with my life, the defendant jumped at the

     5      opportunity.    He reserved a hotel room down in South Florida. He

     6      packed all of these sex toys and bottles of amyl nitrate and

     7      latex gloves which J.S. testified that the defendant would don

     8      during digital penetration.      He packed condoms and lubricant and

     9      a whip, all things J.S. testified the defendant would use during

    10      sadomasochistic sex with J.S. during the course of their

    11      relationship.    He packed them all into a bag and he drove down

    12      to South Florida.    And a long the way, he stopped at a sex shop

    13      in Fort Pierce in order to buy additional sex toys which he, of

    14      course, brought with him to the hotel room where he planned to

    15      text J.S. to have J.S. meet him a year and a half after J.S.

    16      told him the relationship was over.

    17                Your Honor, the defendant never learned his lesson and

    18      I think this last part, the part about his continuing course of

    19      conduct even after J.S. broke off the relationship, brings me to

    20      the second factor under 3553, which is the history and

    21      characteristics of the defendant.       Now, obviously the defendant

    22      has no criminal history.     That fact is already factored into his

    23      guideline range.    What I would say though that his guidelines do

    24      not take account of is these very, very dangerous aspects of his

    25      personality that I think came into play despite the fact that



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 18 of 52 18




     1      the defendant is a very intelligent man, by his own ready

     2      admission many times during his taped statement, the defendant

     3      repeatedly came down to South Florida prowling after J.S., came

     4      down to South Florida after J.S. called him because the

     5      defendant had not learned his lesson.       Because if the

     6      defendant's calls and e-mails from the Federal Detention Center

     7      are any indication, the defendant still has not learned his

     8      lesson.

     9                  Because the reality, Judge, if you step back is that

    10      the defendant does not understand that he did wrong in this

    11      case.     The defendant continues to believe, as all of those

    12      letters that he had people write on his behalf suggest, that

    13      this is a homophobic campaign by homophobic prosecutors and

    14      judges out to get gay people and put gay people in prison, which

    15      of course is preposterous.      The defendant always, from the very

    16      beginning, projected all of his evil conduct onto J.S.          He was,

    17      as Dr. Patterson said, the prototypical sexual predator who,

    18      when he's first approached by law enforcement, says it wasn't my

    19      fault that I had sex with that minor, the minor jumped on my lap

    20      and the minor looked at me in this smiling way and really wanted

    21      me to have sex with him.     I had sex with him in order to save

    22      that child.     Dr. Patterson testified that is a very common

    23      reaction from sexual predators and it's precisely the reaction

    24      that Mr. Keelan had when he was approached by law enforcement.

    25                  And I think the most disconcerting part is that it



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 19 of 52 19




     1      continues to be his reaction from the Federal Detention Center.

     2      All of his e-mails, Judge, all of his phone calls, all of the

     3      letters that were written on his behalf by people who were never

     4      at the trial, have never met J.S., have never known anything

     5      about the case accept for what Mr. Keelan told them in

     6      self-serving statements, are indicative of someone who is

     7      completely unrepentant for his conduct.       Somebody who completely

     8      fails to understand why his conduct was so harmful and so

     9      dangerous and why his continuous course of conduct is so

    10      antisocial and why it's wrong.

    11                This is not just a course of statutory rape, it's not a

    12      case of statutory rape, it's a case of somebody who manipulated

    13      and meticulously groomed a small child, a child who was

    14      confused, who was depressed, who was socially marginalized and

    15      used all of those negative aspects of that child's personality

    16      in order to placate his own sexual satisfaction in a way that

    17      is, in some ways, much more dangerous from the regular monster

    18      on the street who grabs the child from his parents and rapes

    19      them in the basement.     Because this is the kind of person that

    20      parents don't see coming.      This is the kind of person that

    21      principals and teachers don't see coming.        Because the defendant

    22      makes himself out to be the nice guy who is out to save the

    23      world, change the children in his class when in reality, he's

    24      taking one of those children and he's really ruining his life.

    25                And what I would say about that is one of the factors



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 20 of 52 20




     1      under 3553 obviously is that the sentence needs to take into

     2      consideration the retribution for the victims.        And the reality,

     3      Judge, in this case is that sadly, J.S. will never be the same

     4      again.    J.S. was a confused 15-year-old Orthodox Jewish boy.          As

     5      the court will remember he had been adopted from Paraguay, he

     6      was confused about whether he was Latino or whether he was

     7      Jewish.     He was confused about whether he was gay or not.       He

     8      was confused about whether his family would accept him given his

     9      own sexual orientation and his own feelings of miss-identity.

    10      He was a kid who was so confused that he started to slice

    11      himself with sharp objects.      And Your Honor, the reality is that

    12      J.S. had never had sex or any sexual relationship with anyone

    13      before the defendant opened this Pandora's box of sexual

    14      misconduct that really resulted in J.S. actually having sex with

    15      other children -- sorry, other grown men that he had met on the

    16      internet.     That resulted in J.S. being sent away to

    17      psychiatrists and psychologists and therapists in order to

    18      distance himself from the defendant, in order to overcome the

    19      emotional and psychological harm that the defendant caused to

    20      J.S.

    21                  In many of the studies, Your Honor, that have been done

    22      on child sex victims are emblematic, i think, of much of the

    23      behavior we see from J.S.      Re-playing of their sexual abuse.

    24      Reaching out to older people to engage in sexual conduct with

    25      people who are clearly not their age.       This is very common in



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 21 of 52 21




     1      these cases, Your Honor.     And it's no less common and it's

     2      ever-present in this case.      It may always be present, Your

     3      Honor.   I haven't seen J.S. in the last couple of months and my

     4      understanding is he's doing a lot better, but the reality is

     5      that it was the defendant's conduct that resulted in J.S.'s

     6      being sent away to these schools in order to be kept away from

     7      himself, really.    And so that's the third factor I wanted to

     8      point out.

     9                The fourth and final factor, Your Honor, is deterrence.

    10      Your Honor, even the defense's own psychologist, Dr. Michael

    11      DiTommaso, who the defendant paid before the trial, whom the

    12      defense did not call because they didn't like what he said

    13      during the Daubert hearing, even he restricted or in his report

    14      recommended that the defendant's contact with teenagers and

    15      children and students be restricted after he's let out of prison

    16      because even he was uncomfortable with the defendant being

    17      around small children and teenagers and whatever else.

    18                And there's good reason for that, Your Honor.         The

    19      defendant's pornography collection clearly indicated that the

    20      defendant was very sexually interested in young-ish looking

    21      adolescent males.     His own statements in his post-arrest

    22      confession clearly indicated that he has a sexual infatuation

    23      with teenaged boys.     That he sees teenaged boys on the street

    24      and he says he's ridiculously hot he said.        I hope I meet him

    25      again in five years.     That he said when he first met J.S. when



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 22 of 52 22




     1      he was 15, he was quote, ridiculously attractive to me, end

     2      quote.   It's clear that the defendant has a sexual infatuation

     3      with young-ish looking adolescent boys.

     4                It's also clear, Your Honor, that the defendant doesn't

     5      see anything wrong with that.      As I quoted in my papers, the

     6      defendant actually, I think, sent an e-mail to a friend from FDC

     7      and he said something to the effect of if this had happened in

     8      Saudi Arabia, I would have been beheaded.        If it would have

     9      happened in Europe, I would still be free.        And he says in the

    10      United States, I'm going to jail for life or something like

    11      that, which I'll leave it to you to decide which society we're

    12      closer to.

    13                In other words, suggesting that this whole prosecution,

    14      this whole situation is a complete sham that he misunderstands

    15      the whole purpose of this process.       That he misunderstands why

    16      he's here, that he continues to blame J.S. for all of his

    17      conduct and that he continues to blame us, I guess, and the

    18      Government at large for prosecuting someone just by virtue of

    19      the fact that he's homosexual, none of which, of course, is

    20      based in any reality except his own.

    21                And so the fact that the defendant has this

    22      predilection, a predilection that I'm not sure can ever be

    23      dissipated, a predilection that's coupled with his unrepentant

    24      behavior, a behavior that is not warranted -- for which a low

    25      end of the guideline range is not warranted. Low end of the



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 23 of 52 23




     1      guideline range is for people who plead guilty, who accept

     2      responsibility, who have learned from their mistakes, who are

     3      ready to turn their lives around, who are ready to be

     4      rehabilitated.

     5                The defendant is the farthest thing from that.         He's

     6      unrepentant.     He still has that same predilection for young-ish

     7      looking adolescent boys.     And he continues to believe that none

     8      of the things he did in this case were wrong.        That it was all

     9      some terrible accident done out of the goodness of his own

    10      heart, out of a real sense of community service and charity that

    11      he repeatedly penetrated this boy month after month for over a

    12      whole year.

    13                Your Honor, for that reason, I simply don't believe

    14      that a sentence at the low end or even at the middle of the

    15      guideline range is reasonable and I would ask for a sentence at

    16      the very top end of the guideline range.

    17                THE COURT:     All right.   Thank you, sir.

    18                Mr. Randall.

    19                MR. RANDALL:     Judge, to start off with, Mr. Altman

    20      started by saying that, you know, there was the type of person

    21      who is caught up in a sting and drives down here, you know,

    22      hoping to have sex with an underage child would face the same

    23      guideline range.     That's not true.    Three of the four

    24      enhancements that apply to Mr. Keelan in this case would not

    25      apply to that person because there's no undue influence, there's



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 24 of 52 24




     1      no actual sexual conduct.      And the third one which I have --

     2                THE COURT:     I get your point.   You don't have to find

     3      it.

     4                MR. RANDALL:     That person would face a guideline range

     5      of 97 to 121 months after going to trial.        So it's just not true

     6      that people who face -- who are guilty of similar conduct would

     7      face a similar sentence.     That's just not true.

     8                You know, I've tried to make it clear in my pleadings

     9      that, you know, I think the guidelines fail to differentiate

    10      statutory rape between much more serious forms of sexual

    11      misconduct.    There was the website I cited in my second

    12      sentencing pleading that collected basically 51 instances of

    13      teachers sleeping with their students.       It didn't list all the

    14      sentences for all these teachers, and I understand this is a

    15      website, it's not a legal publication, so there's no guarantee

    16      this information is accurate.      But only two or three of these

    17      people were sentenced for more than a year in prison. These were

    18      teachers sleeping with underage students.

    19                THE COURT:     And Florida is the place where they did it

    20      though.

    21                MR. RANDALL:     Well, some of them.    There was the one

    22      teacher in Florida, Debra LaFave, who got probation for having

    23      sex with a 13 year old boy.

    24                THE COURT:     And there was the other one that got ten

    25      years.



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 25 of 52 25




     1                  MR. RANDALL:   Right.   But she slept with two students.

     2      That woman got ten years for sleeping with a 14 year old and a

     3      16 year old, someone who clearly was predator.        That's not

     4      Mr. Keelan.

     5                  Your Honor, heard the trial.    Mr. Keelan is someone who

     6      was raped as a child and when he grew up, he fell in love with a

     7      boy.     This was not about sex for him, he fell in love with J.S.

     8      And it's hard for me to understand that, I'm sure it's hard for

     9      you to understand that or for Mr. Altman to understand that, but

    10      none of us were sexually abused as children.        And you see this

    11      in many, many, many sexual abuse cases where people who suffer

    12      serious sexual abuse as children go on to commit abuse as an

    13      adult.     And there's no way that there can't be some causal

    14      relationship between that.      That, you know, there's something

    15      inside Mr. Keelan that exists that he's really not responsible

    16      for.     And I think that does explain a great deal of his conduct

    17      in this case.

    18                  You know, the fact remains there are no other children

    19      out there.     This is someone, as these letters show, who is a

    20      wonderful teacher.     Who has made a positive influences on the

    21      lives of countless students and parents of these students, many

    22      of whom I think we wound up submitting ten letters who felt the

    23      need to write letters on his behalf.       I think that speaks

    24      volumes to what type of person Mr. Keelan is and what he meant

    25      to the lives of these people.       These aren't -- people from the



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 26 of 52 26




     1      community don't want -- I told all these people that these

     2      letters would be filed publicly and their name would be

     3      associated with this case and there were some people who were

     4      hesitant about that, but still ten people felt the need to have

     5      their name publicly lived for Mr. Keelan expressing support for

     6      him, knowing the crime he was convicted of, and I think that

     7      says a lot about who he is.

     8                The Government can't offer any justification for the

     9      disparity in sentencing that Mr. Keelan faces, and everyone who

    10      commits this crime in state court who, you know, barring any

    11      prior history of sexual misconduct would face something close to

    12      probation or a year in jail or two years in jail.         I don't see

    13      any difference between this case and these hundreds of cases of

    14      statutory rape that go on every day and are prosecuted in state

    15      court.

    16                You know, I understand why Mr. Keelan feels like he's

    17      being targeted because he is being treated differently from the

    18      overwhelming majority of people who commit this crime.          Because

    19      the Federal Government chose to prosecute this case, he is

    20      facing a higher sentence.      There is no way around that.      And for

    21      someone in his position, it's understandable.

    22                THE COURT:    But don't you think that Congress has the

    23      absolute right to express the will of the people by passing

    24      sentencings and punishments for offenses that are within the

    25      jurisdiction of the federal courts?       Don't you think this is



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 27 of 52 27




     1      more an indictment of the state that doesn't have enough money

     2      to punish people properly than it is an indictment of the

     3      Federal Government?

     4                I'm not saying that it's not a very, very harsh

     5      sentence, but the thought that somebody could do something like

     6      this and get probation or a year kind of boggles the mind,

     7      doesn't it?

     8                MR. RANDALL:     You know, I would disagree with Your

     9      Honor that our states lack money when it comes to putting people

    10      in prison.     We seem to find plenty of prison space for drug

    11      dealers and for people that commit nonviolence offenses.

    12                THE COURT:     But how many people have you defended

    13      recently that have 12, 14, 17 state arrests with time served,

    14      withheld adjudication, they just don't have a place to put them.

    15      They go in jail for a five year sentence and they're out in

    16      seven months.     And then when they get over here, they faint when

    17      they find out there is no parole and that they're going to go to

    18      jail for whatever the sentence really is, you know, or maybe 85

    19      percent of it or something like that.       I've had defendants faint

    20      because they say just give me another chance.        You've already

    21      had 15 chances, and I can't give you another chance unless you

    22      come up with some justification for going below the guidelines.

    23      And I'm not inclined to look for one in that case that I was

    24      speaking of.     I don't know what their reason is.      I have to

    25      assume that it is a lack of money.       I can't believe it is a lack



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 28 of 52 28




     1      of will.

     2                  MR. RANDALL:     Particularly in Miami where we see most

     3      of these cases that you're referring to, there is something

     4      wrong with the criminal justice system.         But I don't think in

     5      rural Texas or rural Kansas or, you know, these were cases taken

     6      from all over the country, there's a similar issue.         You know,

     7      people -- we incarcerate more people in the United States than

     8      any country in the world by a factor of ten I think.

     9                  THE COURT:     That's true.

    10                  MR. RANDALL:     And so, you know, we spend a substantial

    11      amount of money on incarceration.         And so there is a range of

    12      sentences that people who commit this crime face and Mr. Keelan

    13      is being facing a range that's way outside of that.

    14                  And the Government also does not rebut that the

    15      guideline ranges that I fashioned, based on other defendants who

    16      would be before this court facing a same guideline range or a

    17      lower guideline range as Mr. Keelan.         You know, there is the two

    18      point enhancement in this case for the use of a computer.          But

    19      there's nothing about his use of the computer that makes this

    20      offense worse.    I mean, I think that that enhancement makes

    21      sense for someone who's trolling the internet looking for young

    22      children to exploit.

    23                  But that's not Mr. Keelan.      You know, there is no other

    24      victim in his background.       That was investigated.    There is no

    25      one else.    This is an aberration in his life.       And so the



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 29 of 52 29




     1      Government is -- you know, the Government wants to think this is

     2      going to happen again when he gets out in his late 60s or early

     3      70s and that's just not the case.       I mean, they try to exploit

     4      or use the report of Dr. DiTomasso against him, but with that

     5      qualification that he not be teaching in schools and not be

     6      around young children or children at all on a regular basis, Dr.

     7      DiTomasso, based on empirical scientific evaluation, found that

     8      he was a low risk of recidivism.       And there is no getting around

     9      that.   This is never going to happen again.

    10                I'm not trying to diminish the severity of this

    11      offense, but I just ask that the court put it in perspective

    12      relative to much more serious sexual offenses that occur.

    13      forcible sexual misconduct and coercive sexual misconduct.

    14      That's just not present in this case, and which the guidelines

    15      could not take account.

    16                So I think a sentence of ten years is beyond sufficient

    17      in this case.    You're never going to see Mr. Keelan again.

    18      Hopefully Your Honor will be here ten years from now.

    19                THE COURT:     I hope I'm anywhere ten years from now.

    20                MR. RANDALL:     This is someone who has a Master's degree

    21      and is going to get a job and return to being a productive

    22      member of society under very strenuous conditions.         He's going

    23      to be on supervised release for the rest of his life.         But

    24      there's no reason to throw the book at him.

    25                And this guideline range just doesn't make sense.         He's



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 30 of 52 30




     1      being sentenced as if he were a pimp of underage children.             He

     2      would be facing a lower guideline range if he had tried to

     3      solicit an agent to rape underage child.          There's no getting

     4      around that.    This guideline range does not make sense for him.

     5                And so for those reasons, I think a sentence of 120

     6      months is appropriate.

     7                THE COURT:     All right.

     8                Mr. Keelan, is there anything that you wish to say to

     9      me before I pronounce sentence?

    10                MR. ALTMAN:     Your honor, I should say that the victim's

    11      father is here and has prepared a statement as well.          I don't

    12      know if the court wants to allow him to speak before Mr. Keelan.

    13                THE COURT:     Yeah, I probably should let him speak

    14      first.   Come on.

    15                MR. ALTMAN:     That's Dr. C.S.

    16                THE COURT:     Come forward.    Yes, sir.

    17                THE WITNESS:     You know, I've never done anything like

    18      this before and didn't realize it was a competition to see how

    19      many letters could be written.        I'm sure we could have gotten

    20      hundreds of letters written in support of J.S. and frankly --

    21                THE COURT:     I don't think J.S. is on trial.      He doesn't

    22      need letters to support him.

    23                THE WITNESS:     I agree.    I agree.    I feel sorry for

    24      Keelan's defense attorney who had to lie through his teeth and

    25      deceive everybody.      Frankly if this had been in rural Texas or



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 31 of 52 31




     1      Kansas, I doubt that it ever would have gone to court.          It would

     2      have been taken care of by people involved, which frankly was a

     3      dream I've had for the last few years.

     4                THE COURT:     Well, I hope you subjugate that dream.

     5      Doesn't work.

     6                THE WITNESS:     I did.

     7                THE COURT:     Making two tragedies out of one doesn't

     8      help.

     9                THE WITNESS:     There's a lot of tragedies involved.

    10                Yesterday I wrote something because I wanted to not

    11      come up here quite as emotional as I feel now.        And I obviously

    12      don't need to explain to you the need for justice here today,

    13      but I do need to explain who we are.

    14                J.S. is not a name, he's not a robot, he's not a piece

    15      of paper, he's not something you read about in the newspaper.

    16      He's a person.    So I wrote this down actually to try to go over

    17      the terrible story and condense some of our feelings.         And

    18      obviously I can't really express in minutes the years of our

    19      sorrow and grief.

    20                I know you're a busy man, a federal judge, and I

    21      respect your time.     But right now I need some of it.

    22                My wife and I have known each other since we were

    23      teenagers in Brooklyn, New York.       Married 45 years.    My wife's

    24      dream was always to have six children.       I won't go into why.

    25      Her family left Europe before the Holocaust, went to Cuba, left



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 32 of 52 32




     1      Cuba before Castro and fortunately we met in New York.

     2                 My parents were American born, although my father never

     3      went to college.    But my father had to drop out of high school

     4      to help support his fatherless family during The Depression.

     5                 In 1994 when my wife and I were both 46 years old, we

     6      went to Paraguay.    My wife had four C sections and frankly was

     7      unable to have anymore children.       I volunteered in a hospital

     8      there, was Baptist Hospital in Pediatrics with a Dr. Frutos, and

     9      at that time chose to adopt two infants who were both two months

    10      old, a boy and a girl.     I won't go into the long process, but

    11      suffice it to say that it took six months to get us back to the

    12      United States with our two babies, everything done by the book.

    13      As a matter of fact, our next youngest child at that time stayed

    14      with us, spent a semester of high school in the American School

    15      of Asuncion in Paraguay.     Our next daughter who is here, who is

    16      an attorney, gave up a semester at Stanford and frankly we

    17      arrived back 10 days before our number two child was graduating

    18      from Yale.    Our number one child, our oldest was in medical

    19      school and came on his spring break with two suitcases of baby

    20      formula.

    21                 I bring this up really because I want you to understand

    22      the focus of our family has always been on our children.          Their

    23      education, their welfare.      My wife and I were not out partying,

    24      we lived in Palm Springs, California, we were not country

    25      clubbers, not that there's anything wrong with that, maybe now I



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 33 of 52 33




     1      kind of wish I was, but our children were our number one

     2      priority.    We wanted to create citizens of the world.       We

     3      brought up our children to respect authority, we taught them

     4      that teachers were an extension of their parents which almost

     5      always was true.    We're old-fashioned.

     6                  These two youngest ones have been a blessing for us.

     7      We sent them to parochial schools in an effort to reinforce

     8      their identity, especially because they were adopted.         In 10th

     9      grade, unfortunately J.S. had the great misfortune to have for

    10      honors English, Keelan.     Now J.S. is an exceptional student,

    11      National Honors Society, Dean's List, a sensitive boy with a

    12      strong sense of right and wrong.       As a 15 year old though, he

    13      was confused about his identity.       Who was he.   He was Hispanic,

    14      he's in a parochial school, he was adopted, he was frankly

    15      rather small for his age, probably about 5' tall, suffering with

    16      acne, darker in complexion than most of his school mates, he was

    17      vulnerable to the sly and pernicious grooming of Keelan.           He's

    18      definitely a professional at dealing in influencing children.

    19                  He told J.S. how similar they were.      How they had the

    20      same psychological profile, the Myers Briggs profile.         How J.S.

    21      was, and I'll quote from one of the texts, a jungle boy and he

    22      was being influenced by his quote, his Ortho mom.         He lured him

    23      over and over again during lunch period at school, locking the

    24      door to the classroom, putting paper on the classroom window

    25      getting him to play chess or whatever and J.S. couldn't be



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 34 of 52 34




     1      found.

     2                Finally his sister Leah, they're in the same grade,

     3      found him in the locked classroom.       It's very inappropriate.

     4      Secretary in the school named Donna could not find J.S.          We

     5      questioned J.S. what was going on, we sent him to a therapist,

     6      he admitted he was confused and depressed.        He said he no longer

     7      wanted to be Jewish, he no longer wanted to follow his religion

     8      or any religion, he didn't believe in God.        This was the boy who

     9      regardless of what school he was in, what grade, year after year

    10      would win best student in secular studies, best student in

    11      religious studies.     Very strange.

    12                Keelan peppered him.     Texting him nightly during

    13      school.   Flattered him.    Brought him into other classes to show

    14      him off as what a good student is.       And that school was

    15      separated as boys and girls.      He even brought him into the girls

    16      class, said see, this is what a student is supposed to be.            Very

    17      flattering.    He's a master.    A master at grooming.     For his

    18      evil, immoral, devilish, perverted and illegal plans.          This went

    19      on and on.    And he brought our son, J.S. to his Miami condo

    20      without our knowledge, without our permission and had sex with

    21      him multiple times.     The news said 60 times.     I don't know,

    22      maybe it's 60, maybe it was more, maybe it was less.         One time

    23      though is enough.

    24                When J.S. transferred schools, he met him after school

    25      and even sometimes during the school, took him out of North



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 35 of 52 35




     1      Miami Beach High School, took him to a park, took him to a beach

     2      to have sex with him.     He took him to motels to have sex with

     3      him.    All this time J.S. was afraid to tell us what was

     4      happening to him.     He started to cut himself.     We took him to a

     5      psychologist.     Then to a psychiatrist, Dr. Shaw.      Chairman of

     6      the Department of Child Psychiatry at the University of Miami.

     7                  Eventually as we confronted J.S. more and more, and as

     8      things got really worse, for J.S.'s safety, and with

     9      recommendations, he was sent for intense therapy to what's

    10      called wilderness therapy, something I had never heard of

    11      before.     There was no phone, no internet, they didn't even sleep

    12      in a tent.     And it cost over $400 a day.     He was there over 100

    13      days.     It was there with the therapy that the Keelan story came

    14      out in detail.     We had no way of speaking to J.S., phone calls

    15      were not allowed, but we would get a weekly letter, a weekly

    16      update.     I remember reading his letter, his confession, his

    17      letter of responsibility, they called it, with my wife.          You

    18      could imagine how we felt.      After that I remember sitting alone

    19      in the dining room, taking two nitroglycerin pills which I've

    20      never taken before in my life.      The details were graphic and we

    21      were stunned and sickened by it.       For our poor son and for

    22      ourselves.     We felt guilt, shame, hatred of the fools Keelan had

    23      made of us.

    24                  This is not some innocent gee, I made a mistake.       He

    25      killed years of J.S.'s life.      He killed his spirituality and



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 36 of 52 36




     1      physically and hopefully, J.S. can some day recover some of his

     2      identity and soul.     Even though some things do heal eventually,

     3      but scars remain forever.

     4                  As parents, my wife and I will never, ever not in 20

     5      years or however long or more until we die get over this.          We

     6      love our son, but lost a certain trust and relationship with him

     7      and only now is it starting to heal.

     8                  Keelan And his devilish, evil, selfish, lying ways has

     9      stolen years from our lives as well.       All of our children have

    10      suffered.    My 97-year-old mother, who I guess found out from my

    11      sister-in-law, she lives with my brother in California, my

    12      wife's sister and her children.      My brother and his children.

    13      All of our children, thank God our grandchildren are too young

    14      to know.

    15                  Please remember, Judge please, that Keelan taught

    16      acting as well as English.      And if he apologizes or claims he

    17      was in love, please remember what a phony liar and manipulator

    18      he is.

    19                  I'm sure he's sorry.   So sorry, though but what he's

    20      sorry about is sorry he got caught.       It's just another act.        He

    21      loves only himself.     He and his perverted criminal ways.       In

    22      fact, I believe he confessed immediately after when he was

    23      caught, but later demanded a trial anyway, not only wasting

    24      thousands of dollars and time, but with no regard or remorse for

    25      the torture he put his victim through, our son J.S., or us, the



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 37 of 52 37




     1      silent victims here.     The collateral damage.

     2                 Judge, please remember the teenage boy who had to stand

     3      there and testify for part of two days.       With his predator

     4      looking at him.     Who, as he left the room, burst out crying in

     5      his mother's arms from the shame and degradation.         Remember the

     6      incredibly short time it took the jury to convict on all counts.

     7                 Cancer is a difficult disease all around.       More and

     8      more is discovered over time, but what's been known for decades

     9      is that it's a disease that flourishes with a weakened immune

    10      system.    That's not new information.     Everyone in this room at

    11      this moment probably has some abnormal cells in their body,

    12      which if this body is compromised immunologically may develop

    13      into cancer.

    14                 Almost three months into J.S.'s time in wilderness

    15      therapy, a long time after we found out about Keelan and his

    16      repeated rape of our son, of incredible stress and sadness for

    17      all of us, I was diagnosed with cancer.       Never sick a day before

    18      in my life.     As a horse.   I now have had nine hospitalizations.

    19      Multiple surgeries.     Chemotherapy, a heart attack, then heart

    20      surgery.    The cancer spread to my lung and I've had two more

    21      lung surgeries and it's come back again.

    22                 I regret saying this in front of him for the perverse

    23      pleasure it must give this prisoner, Keelan.        I'm supposed to

    24      have had another cancer surgery, but I wouldn't miss today, so I

    25      postponed it.     We leave next week for MD Cancer Institute in



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 38 of 52 38




     1      Houston.

     2                  It's fair to say with no exaggeration that Keelan has

     3      taken years off my life, years off the life of my wife.            Neither

     4      of us have had a full night's sleep since we found out about

     5      this nefarious creature's deeds against our son, and frankly

     6      against all of our sanity.      How many nights did I lay awake in

     7      bed thinking of ways to avenge what took place.         In fact,

     8      without naming anyone, the day of his arrest last June, after

     9      hearing the great news of Keelan's arrest by FDLE, FBI, Broward

    10      police, Broward Sheriff's Office or whatever law enforcement

    11      agency it was said to me that it must have been almost

    12      impossible to have not gone and taken care of this monster

    13      myself.     This commented, I should be proud of my restraint,

    14      frankly, as you just did.

    15                  My restraint though, it's almost funny.      Keelan killed

    16      our son's soul and identity.      He killed our faith, at least

    17      mine, for a long time.     Definitely shortened our lives on this

    18      earth, our time with our children and grandchildren.         And

    19      frankly, has cost us over $200,000 in therapy, in residential

    20      treatment centers, in wilderness therapy and that's up until

    21      today.     It could have easily paid for an Ivy League education or

    22      whatever.     Would have been better spent.     I do not remember the

    23      last time I have smiled or my wife, who has aged probably 20

    24      years, in the last two.     She now has been diagnosed with

    25      coronary artery disease and frankly has gained over 25 pounds in



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 39 of 52 39




     1      the last two years.

     2                Keelan should never, ever, ever be allowed out of

     3      prison, never to see the sunlight or a blue sky, never to see a

     4      butterfly.   Never to smile again.      Never, ever again.    No more

     5      Keelan victims of this phony, self-serving, evil creature.

     6                Is killing a soul less important or less a crime than

     7      killing a body?     We've been told that he can get life

     8      imprisonment.     Frankly, it sounds like a rather light sentence

     9      compared to the life imprisonment and shortened lives he's

    10      caused for our son, our entire family and for us.

    11                Thank you much for listening to me, a man with a broken

    12      heart and spirit.      Please let the maximum punishment for this

    13      pervert, this predator of children, of our son, allow him and us

    14      some level of relief and a chance to heal and have faith again.

    15                I could go on forever.

    16                THE COURT:     Not in here you can't, but I appreciate

    17      your sentiment.     Thank you, sir.    Thank you very much.

    18                Mr. Keelan?     You can do it from there, sitting, or you

    19      can come to the lectern.      Either one.   It's your call.

    20                THE DEFENDANT:     I don't know where to begin.     I'm

    21      guilty.   I've said back at the beginning that I was guilty.

    22      That I slept with J.S.      When Agent Cannon first was sending

    23      e-mails as J.S. the year before, I said I would do anything to

    24      help J.S. if he asked.      I meant I would turn myself in.

    25                When J.S. called last June, I said I had to decide if



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 40 of 52 40




     1      what you need is for me to come down and tell the truth to turn

     2      myself in, I'll turn myself in.       This is, and I said it three

     3      times on the phone.     That I jumped at the chance, Mr. Altman

     4      says, it's not true.     Agent Cannon sent me e-mails.       I was

     5      confused because J.S. had said that the relationship was over,

     6      that he didn't want that and when he was saying I need you, I

     7      want you, I didn't know what -- I was confused because I did not

     8      want to harm J.S.

     9                  I'm sorry for Dr. S.'s cancer.     As much as there's a

    10      difficulty between us, it's also on the phone, I said no one

    11      deserves, no one deserves to have such trouble.         The two people

    12      I most need to apologize to right now are the two people I love

    13      the most.    One of those is my son Tristan who is here, who's had

    14      to bear the shame of this.       And today's his birthday, so I'm

    15      saying happy birthday from here because I won't see him.

    16                  The other was J.S.     And I apologize to J.S.    I do feel,

    17      and I committed statutory rape, I absolutely loved J.S.

    18      unreserved --

    19                  AUDIENCE MEMBER:     Your pants are on fire.

    20                  THE DEFENDANT:     It's not true, Dr. S., I'm sorry.     J.S.

    21      came to me cutting.     The cutting did not start.      I slept with

    22      J.S. on February 14th, the first time of what 2010.          He came in

    23      that fall cutting.     He was as, Dr. S. said, confused, you know,

    24      about his religion.     He didn't talk about sex at that point, but

    25      he said he didn't want to be Jewish, he wasn't out there and he



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 41 of 52 41




     1      kept cutting and he came to me about the cutting and he came.

     2      And he got in my heart.     And I told him, I talked to Dr. S.

     3      about it, I called him twice, they knew about the cuttings long

     4      before it was out there.     I tried to put him in touch with a

     5      student who is a heterosexual who they investigated who is

     6      similar to J.S. that he might be friends with.        I called the

     7      counselor friend to try to get some advice about what could be

     8      done.     I bought him The Road Less Traveled, which I thought was

     9      the best psychology book I could get and I eventually told him,

    10      I promised him unconditional love and I meant unconditional and

    11      that I would do anything to help him be happy.          I would.

    12                  And I got too emotionally involved.     I loved him.      Dr.

    13      S. says he has two wonderful children, he has two wonderful

    14      children.     I taught them both.   J.S. and Leah are wonderful

    15      people.     J.S. is witty and bright and kind and fears for his

    16      freedom in fighting to be someone.       And he came to me, he did.

    17      He thought I was a wonderful person and I tell against what

    18      everyone said, I said don't fight with your family, you don't

    19      have to decide not to be Jewish now, this is not something you

    20      have to deal with, it doesn't have to go there, just don't cut.

    21      Just don't cut.     If you don't love yourself enough, believe me

    22      that I love you enough to stop that.       And I wasn't in love with

    23      him at that point.

    24                  I know that I wouldn't have asked him for sex.         I spent

    25      a life not manipulating people.      If I ever did anything with a



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 42 of 52 42




     1      student, I'd say I'm giving you daily quizzes because you're not

     2      going to read the assignment otherwise.          I lay it out there.     I

     3      can't lie.     I didn't.     I can't lie.   I'm no good at it.

     4                  Agent Cannon, I told him the truth as soon as he was

     5      there.     I said on the phone to J.S. three times I'll come down

     6      and tell the truth.        I wanted to tell the truth.    I've lived

     7      with ferocious anxiety since, you know, since this happened.

     8                  J.S. came over to my apartment.       I was trying to get

     9      him to do Shakespeare.        That worked with Max, the other student,

    10      as an outlet.     He said he was coming over.       He was playing

    11      tennis.     And so you see, he was coming over, he was going to be

    12      there.     He would come over.     We work on the Shakespeare.

    13      There's paperwork he had to do.        He came over and he asked me

    14      for sex.     He told you that he asked me.

    15                  The grooming thing, and he told you that I tried to

    16      talk him out of it.        He mentioned something before and I said

    17      it's a really bad idea and I said J.S., I love you, but this is

    18      just -- you know, he told you the first thing I said to him is I

    19      can love you without sex.        He told you that at the trial.      I

    20      could love him without sex.        I'm gay, but I just wanted this

    21      fantastically wonderful human being to stop hurting himself.             I

    22      said I'd do anything.        I'd do anything.    You know, I don't lie,

    23      I'll take any test of truth you want on these statements.            I

    24      told him I could love him without sex.          And he said well, you

    25      don't have to.     I told him in the grooming thing, I said you



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 43 of 52 43




     1      don't owe me sex for love.        I thought maybe he thought he owed

     2      it to me because he knew I was gay at that point, and I said you

     3      don't owe it to me.        He says -- he said I know I don't owe it, I

     4      want it and so do you.

     5                  And I'd be lying if I didn't think he was attractive.

     6      He's a lovely person.        He's not the most handsome person I'd

     7      ever seen.     He did have acne or whatever, but his soul is a

     8      wonderful person.     Wonderful person.      And told him, I said J.S.,

     9      the sex, this is the bad part, the sex is not important.            I said

    10      don't ask me to do this for sex.         It's not that important.     And

    11      he said it was not for sex, it's for true love.         We're soul

    12      mates.     And he said I need it to live.      And he told you at the

    13      trial he believed he needed it to live.

    14                  I feel like you think gay people can't love each other.

    15      I knew I shouldn't love him.        I knew I shouldn't love him.      I'm

    16      guilty.     I'm guilty of statutory rape, Mr. Altman.      I tried to

    17      plead to statutory rape.        I asked to so J.S. wouldn't have to

    18      testify.     That's on record.     That he believed he needed it to

    19      live is on record.        He said so.   He said so at the trial.     And I

    20      found myself in the situation where this fantastic human being

    21      says I need -- you're so wonderful he's saying to me, that the

    22      only relationship with you can save my life.         Your soul mate's

    23      life.     And I didn't.     I didn't.   I talked for two days.     That

    24      was February 14th.

    25                  If you look at the statement that he sent from rehab,



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 44 of 52 44




     1      he said nothing happened that first day, because nobody brought

     2      -- we made a date and nobody brought it up.        We didn't make a

     3      date, doesn't make any sense that I made a date with him and

     4      then when he came to do the date, I tried to talk him out of it.

     5      He told you I tried to talk him out of it.        If I tried to talk

     6      him out of it, how was I trying to talk him into it.

     7                 THE COURT:   Mr. Keelan, try to organize your thoughts a

     8      little bit.    I'm not angry, I'm just trying to get you to focus

     9      and tell me what you want.

    10                 THE DEFENDANT:   I know.    But I spent a day, I spent

    11      that full day, nothing happened because I said no a dozen

    12      different ways.    I told him that, you know, I said J.S., look

    13      when it comes out, because it will come out, and you know, it

    14      came out when he was 18 and I was 54.       And we were -- if we were

    15      married, it will still come out.       J.S., everybody is going to

    16      hate me.    They're all going to assume that I tried to get you to

    17      do this.    And he said I'll tell them I picked you.       Besides, it

    18      won't matter because we'll be together.

    19                 I -- honestly in Virginia, had a recurring dream of

    20      visiting Gettysburg with him because he was a history buff, and

    21      we talked about history, philosophy, psychology and all of those

    22      things.    And I had given up all the sex to be able to go with a

    23      history geek to Gettysburg.      I'd give all of it back to have

    24      kept his friendship.

    25                 He's a wonderful person.     An absolutely lovely,



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 45 of 52 45




     1      marvelous, weird, eccentric, interesting person and I loved him.

     2      And I had said no and I made it through no, and I made it

     3      through nos the next day.      And he said it was going to be with

     4      some other older white guy.      And he told you that at trial and

     5      honestly, at that point I got selfish.       I wanted the love, I

     6      wanted someone who loved me so much that 35 years didn't make a

     7      difference.     He loved me that much.    And when he said it was

     8      going to happen anyway and he was going to go out with someone

     9      else, I wanted the love.     I paid, I paid the sex for his love, I

    10      wanted that, I wanted it forever.

    11                  And the things Mr. Altman says, who tied who up, went

    12      this way, that way, the sex, I never did anything.         You can look

    13      back through all the e-mails and all the phone calls, I never

    14      did anything that J.S. didn't ask me to do.        And when he called

    15      me up and said it was over, I didn't ever ask him.         That's why

    16      they didn't want the e-mails in, I never asked him for sex.            I

    17      never asked him.     I asked him to be happy.     I said all you owe

    18      me is your well-being.     That's what I told him.      That's what I

    19      wanted.

    20                  When he disappeared off the e-mails, yes.      First of all

    21      I came to Florida on vacation because people come to Florida on

    22      vacation.     And I lived here for seven years, I did drive around

    23      the neighborhood.     I said that.   I wanted to see if he was

    24      alive.    I just wanted him to be alive.     All I wanted was -- it's

    25      not all I wanted, I'm minimizing it, I shouldn't do that.          I



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 46 of 52 46




     1      thought he was lovely.      When he said he was -- he wanted gay sex

     2      with me, I thought he was a lovely person who I was already in

     3      love with.    And I said no, no, no.       I didn't make it sound like

     4      I was tortured for sex.      I loved the sex with J.S.        I loved J.S.

     5      It was sex with somebody I loved.         It was wonderful.     I'm not --

     6      I can't say that I didn't want it, but I tried, I tried to talk

     7      him out of it.     I would have waited, I -- I'm sorry.

     8                 THE COURT:   Mr. Keelan, focus.      Focus.   You've been

     9      going for 15 minutes now.      I'll give you two more minutes and

    10      then wrap it up.

    11                 THE DEFENDANT:    I'll stop.     And I can't count the

    12      number of ways I told him I wasn't that special.         He said you're

    13      special to me.     You know, I told him he was going to want to see

    14      other people, I told him he should be with people his own age,

    15      he said I was a dream for him, he's always been attracted to

    16      older guys.     I wouldn't have believed that, I believe that, now

    17      a whole bunch of stuff I learned afterward.         I traded the sex

    18      for the love.

    19                 I mean I gave in, I could have -- I didn't need the

    20      sex.    I'm not ugly, I can get sex in Florida, I didn't.          J.S., I

    21      let myself believe that this was saving his life.         And that's

    22      wrong and it's silly and he said that and I let myself believe

    23      it.    I saw this young gay man and he's lonely and he's upset and

    24      he's cutting himself.

    25                 I apologize, I've lost everything.       I've lost, you



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 47 of 52 47




     1      know, the friends who love me are gone, my job's gone, my

     2      future's gone, prison is horrible, my life is pointless, and

     3      Your Honor, I lost J.S.     I could have been the great friend for

     4      the rest of his life.     I can't -- I saw him at the trial, I

     5      tried to plead to statutory rape, I did not want that.          I didn't

     6      feel like I had tried to seduce him.       I felt -- I am so sorry

     7      for any suffering I caused him.

     8                 On top of everything else, my stupidity, my romantic

     9      idiocy, I believe -- you know, I believed that the love would

    10      last forever and as soon as the sex got in, I should have known

    11      that it would be ruined and I lost the person I love.         And I'm

    12      sorry for I cannot -- if I could go back in time and change it,

    13      if I could fix it for him, if I could make it up to him somehow,

    14      I would.    He deserves all joy, he deserves a wonderful marvelous

    15      life.

    16                 And you have to believe I tried out of love to do

    17      something and I let myself get lost in a moral hall of mirrors

    18      where I thought what I was doing, where I convinced myself what

    19      I was doing was right.     But I didn't ask him, I tried to talk

    20      him out of it, he told you that.       I could have loved him without

    21      that.

    22                 I'm sorry to his family, I'm sorry to his son, nothing

    23      -- I had 12 and 1,300 students.      This happened once.     It was the

    24      strangest situation in which I've ever found myself and I don't

    25      know, some strange situations are going to happen in prison, but



                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 48 of 52 48




     1      this is pretty much the oddest thing I ever found myself in and

     2      I loved him.    I love him, I have prayed for his happiness every

     3      night for three and a half years now, I don't know where my

     4      prayers go, I don't know what they do.

     5                We talked about this, J.S. and I, at some point.         But

     6      all I can do to love him now, is pray for him to be happy and

     7      I've done it every night for three years.        Nobody believes me, I

     8      can't lie, I'm a horrible liar, that's what happened.         Test me

     9      if you want to.

    10                I fell in love with him.      I committed statutory rape.

    11      I'm guilty, I'm guilty, I'm guilty.        I'm sorry to take so much

    12      time.

    13                THE COURT:     Thank you, sir.

    14                Mr. Randall, anything further?

    15                MR. RANDALL:     No, Your Honor.

    16                THE COURT:     I will, in the formal order, recommend that

    17      the defendant serve his time at FCI McKean in northwest

    18      Pennsylvania or FCI Otisville in New York, depending upon his

    19      background and the offense of which he stands convicted, and the

    20      needs of the Bureau of Prisons.

    21                The court has considered the statements of all the

    22      parties, the presentence report which contains the advisory

    23      guidelines, and the statutory factors as set forth in 18 USC

    24      section 3553(a).

    25                Based on the need to provide just punishment to deter



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 49 of 52 49




     1      the defendant, the need to protect the public from further

     2      crimes of the defendant, a sentence will be imposed within the

     3      advisory guideline range.

     4                It is the finding of the court the defendant is not

     5      able to pay a fine as well as make any restitution.

     6                It is the judgment of the court that the defendant,

     7      Thomas Patrick Keelan, is committed to the Bureau of Prisons to

     8      be imprisoned for 200 months.

     9                This sentence consists of terms of 200 months as to

    10      each of Counts 1 and 2 to be served concurrently.

    11                It is further ordered -- you made a request for

    12      restitution?

    13                MR. ALTMAN:    Your Honor, I believe Probation did send a

    14      letter to the family.

    15                THE COURT:    Nothing's come back.     They were given a

    16      time and nothing has come back.      Those things are not

    17      open-ended, we got to have it.

    18                AUDIENCE MEMBER:      I can provide the bills, but it's my

    19      impression that he doesn't have two cents to rub together.

    20      Probably spent it on sex toys.

    21                MR. ALTMAN:    I apologize, Your Honor.

    22                THE PROBATION OFFICER:      Your Honor, the letter was

    23      provided to the victim's father on February 14th with a deadline

    24      of March 7th to return the affidavit of loss.

    25                THE COURT:    Okay.    No restitution has been made, claim



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 50 of 52 50




     1      for restitution, no claim will be made at this time.

     2                  MR. ALTMAN:    No claim has been made, Your Honor.     We

     3      would ask, as we're entitled to ask for a period of 90 days, but

     4      we'll have it soon before then, Your Honor.          If you want, I'll

     5      get together with them this week and next and put something

     6      together.

     7                  THE COURT:    See, the problem is I don't want to pay for

     8      this gentleman to be flown back down here.          He has a right to be

     9      at his restitution.       I don't really propose that we spend money

    10      bringing him back down here.        We could have done this today and

    11      that's why the letter went out in February, which gave a

    12      deadline of March the 5th and it's now what April the 11th?             And

    13      we have heard nothing.

    14                  MR. ALTMAN:    What if we set it for next week, Your

    15      Honor?   And that way Mr. Keelan will still be here.

    16                  THE COURT:    I will set it for next week.     Wanda, give

    17      me a date next week.       But that's it, no more extensions.

    18                  COURTROOM DEPUTY:     Thursday April 18th.

    19                  THE COURT:    Thursday April 18th at?

    20                  COURTROOM DEPUTY:     2:00.

    21                  THE COURT:    2 p.m., okay?   Thursday April 18th.

    22                  It is further ordered that pursuant to 18 USC section

    23      3664(d)(5), since the victim's losses are not yet ascertainable,

    24      I will set a date which was Thursday April 18th at 2:45?          Is

    25      that what you said?       2:00.   I'm sorry.   2 p.m.



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 51 of 52 51




     1                  MR. RANDALL:     Can we move it back a little bit, Your

     2      Honor?   I think I have a sentencing.

     3                  THE COURT:     What do you mean back, which way does that

     4      mean?

     5                  MR. RANDALL:     Either way.   1 or 3:30 maybe.

     6                  THE COURT:     Wanda, can we do it --

     7                  COURTROOM DEPUTY:     3:30.

     8                  THE COURT:     3:30 is fine, April 18th at 3:30 p.m. for a

     9      final determination of the victim's losses.

    10                  Upon release from imprisonment, the defendant shall be

    11      placed on supervised release for a term of 25 years as to each

    12      of Counts 1 and 2 to be served concurrently.

    13                  Within 72 hours of release, the defendant shall report

    14      in person to the probation office in the district where

    15      released.    While on supervised release, the defendant shall not

    16      commit any crimes, shall be prohibited from possessing a firearm

    17      or other dangerous device, shall not possess a controlled

    18      substance, shall cooperate in the collection of DNA and shall

    19      comply with the standard conditions of supervised release

    20      including the following special conditions:

    21                  Financial disclosure requirement, no new debt

    22      restriction, no contact with minors, no contact with minors in

    23      employment, no involvement in youth organization, sex offender

    24      treatment, restricted from possession of sexual materials, Adam

    25      Walsh Act search condition and sex offender registration as



                      PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                              TRANSCRIPT PRODUCED BY COMPUTER
Case 1:12-cr-20496-JEM Document 137 Entered on FLSD Docket 06/17/2013 Page 52 of 52 52




     1      noted in part G of the presentence report.

     2                 The defendant shall immediately pay to the United

     3      States a special assessment of $200.

     4                 The total sentence 200 months imprisonment, 25 years

     5      supervised release, $200 special assessment.

     6                 Now that sentence has been imposed, does the defendant

     7      or his counsel object to the court's finding of fact or the

     8      manner in sentence was pronounced?

     9                 MR. RANDALL:     Yes, Judge, we do reserve all objections

    10      previously raised.

    11                 THE COURT:     All right.   There are no additional counts.

    12                 You have the right the appeal the conviction and

    13      sentence imposed.       Any notice of appeal must be filed within 14

    14      days after the entry of the judgment.       If you're unable to pay

    15      the cost of an appeal, you may apply for leave to appeal in

    16      forma pauperis.

    17                 We'll be in recess.

    18                 MS. JOHANNES:     Have a good afternoon, Your Honor.

    19                 THE COURT:     Thank you.   Thank you, Madame Probation

    20      Officer.

    21                  (PROCEEDINGS CONCLUDED)
                                          * * * * *
    22
                                  C E R T I F I C A T E
    23      I certify that the foregoing is a correct transcript from the
            record of proceedings in the above-entitled matter.
    24                             /s/ Dawn M. Whitmarsh
            Date                    DAWN M. WHITMARSH, RPR
    25




                       PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                               TRANSCRIPT PRODUCED BY COMPUTER
